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                              UNITED STATES DISTMCT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION


   JOHN THIBODEAUX ET AL                                   CASE NO. 6:18-CV-00501 LEAD

   VERSUS                                                  JUDGE ROBERT R. SUMMERHAYS

   J M DRILLING LL C ET AL                                 MAGISTRATE JUDGE CAROL B.
                                                           WHITEHURST


                                                 ORDER

          Presently before the Court is Insight Risk Management, LLC's Motion for Summary


   Judgment on Plaintiffs9 Standing [ECF No. 259]. In the present motion, Insight asserts that


   Plaintiffs have no standing to assert a cause of action against Insight. Plaintiffs have conceded in


   their response that they have no opposition to the motion on the limited issue of the Plaintiffs9 lack


   of standing to assert claims directly against Insight. Accordingly,


          IT IS ORDERED THAT Insight Risk Management, LLC's Motion for Summary Judgment

   on Plaintiffs' Standing [ECF No. 259] is GRANTED; Plamtiffs' direct claims against Insight are

   DISMISSED.

          THUS DONE in Chambers on this 28th day of July, 2021.




                                                               ROBERT R. SUMMERHAYS
                                                          UNITED STATES DISTRICT JUDGE
